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               IN THE UNITED STATES BANKRUPTCY COURT
                    WESTERN DISTRICT OF MISSOURI
In re: RIGOBERTO NMN BAEZA

                                                                 Case No.: 23-40160-can-13

                              Debtor


                          MOTION TO DENY CONFIRMATION OF PLAN

    COMES NOW Richard V. Fink, Chapter 13 Trustee, and requests the court deny confirmation of the
proposed plan (document #28), filed on or about April 20, 2023. In support thereof, the trustee states that
the issues related to the proposed plan include:

   1. 11 U.S.C. Section 1325(a)(4):

           It appears there is non-exempt equity of $2,743.00 +$3,399.00 preference payments. The
           equity comes from bank accounts $300.00 and $2,443.00 2022 tax refund. The proposed
           plan will pay less to the non-priority unsecured creditors than if the estate were liquidated
           under Chapter 7.


   WHEREFORE, the Chapter 13 Trustee moves the Court for an Order Denying Confirmation of the
proposed plan.


                                                     Respectfully submitted,
       May 03, 2023
                                                     /s/ Richard V. Fink, Trustee

                                                     Richard V. Fink, Trustee
                                                     2345 Grand Blvd., Ste. 1200
                                                     Kansas City, MO 64108-2663
                                                     (816) 842-1031
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                                                    NOTICE OF MOTION

Any response to the motion must be filed within twenty -one (21) days of the date of this notice (subject to an extension
pursuant to Federal Rule of Bankruptcy Procedure 9006 ) with the Clerk of the United States Bankruptcy Court .
Documents can be filed electronically at http://ecf .mowb.uscourts.gov. A copy of such response shall be served electronically
by the Court on the Chapter 13 Trustee and all other parties to the case who have registered for electronic filing . Parties not
represented by an attorney may mail a response to the Court at the address below . If a response is timely filed, the Court will
either rule the matter based on the pleadings , or set the matter for a hearing. If a hearing is to be held, notice of such hearing
will be sent to all parties in interest . If no response is filed within twenty-one (21) days (subject to an extension pursuant
to Federal Rule of Bankruptcy Procedure 9006 ), the Court will enter an Order denying confirmation of the plan . For
information about electronic filing, go to http://www.mow.uscourts.gov. If you have any questions about this document ,
contact your attorney.

Court Address: U.S. Bankruptcy Court, 400 E. 9th St., Room 1510, Kansas City, MO 64106


                                                    NOTICE OF SERVICE

The following parties will be served either electronically or by United States First Class Mail . If any party is served by United
States First Class Mail a certificate of service will be filed thereafter:

DEBTOR(S)
WAGONER BANKRUPTCY GROUP (206) - ATTORNEY FOR DEBTOR(S)

                                                                 /s/ Richard V. Fink, Trustee


                                                                                                   LB     /Motion - Deny Confirmation
